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                      Exhibit B
         Ms Tildesley’s email to Mr Masters
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From:                              Hannah Tildesley <htildesley@applebyglobal.com>
Sent:                              Tuesday, August 15, 2023 3:17 PM
To:                                Kyle Masters
Cc:                                Jordan Knight
Subject:                           Vesttoo, White Rock


Dear Kyle,

As discussed, Craig’s details herewith: https://www.dlapiper.com/en/people/m/martin-craig

Kind regards,

HANNAH TILDESLEY
PARTNER | DISPUTE RESOLUTION
Appleby (Bermuda) Limited
Tel: +1 441 298 3590 / Ext. 6123




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